              Case 3:21-cr-00004-UNA Document 3 Filed 03/02/21 Page 1 of 1

V£. Department of Justice
United States Attorney                                                                    FILED IN OPEN COURT
                                                                                             -u-a-a«ft—Atlanta



                            IN THE UNFTED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT Of GEORGIA                    JAMES N                 N. Clerk
                                                                                          By:                 lutv Cierk


UNTTBD STATES OF AMERICA                                            Indicfanent/ Information

V.




Robert Purbeck

Agent to Arrest




                                                PRAECIPE

      The Clerk is hereby directed to issue a warrant for arrest/ certified copy (copies) of
indictment attached/ retumable instanter/ in the above-stated case.



                                                       Michael Herskowitz
                                                       Assistant United States Attorney


Filed In Clerk's Office/ this                 day of         .,20


                                                                               ISSUED AND DELiVERED
                                                                              TOU.S.,iyiA^SHAL
                                  Clerk
                                                                                _^ziz
                                                                              BY -<J^-
                                                                                   OQEPOTY CLERK
By
                               Deputy Clerk



                                                                                        FormNo,USA-19-S
                                                                                            (Rev. 08/06/87}
                                                                                          N.D.Ga. 08/26/94
